       Case 4:20-cv-05640-YGR        Document 1140     Filed 01/28/25   Page 1 of 8




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17                               UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S STATEMENT IN SUPPORT
22    v.                                             OF ADMINISTRATIVE MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                   CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                         Document 1140                  Filed 01/28/25              Page 2 of 8




 1                                                          TABLE OF CONTENTS
 2                                                                                                                                                   Page
 3   LEGAL STANDARD............................................................................................................................1

 4   DISCUSSION ........................................................................................................................................2

 5   CONCLUSION ......................................................................................................................................3

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     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                                 i                      CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                      Document 1140                Filed 01/28/25            Page 3 of 8




 1                                                    TABLE OF AUTHORITIES

 2                                                                                                                                      Page(s)
 3   Cases
 4   Al Otro Lado, Inc. v. Wolf,
 5      2020 WL 5422784 (S.D. Cal. Sept. 10, 2020) .................................................................................... 2

 6   In re Anthem, Inc. Data Breach Litig.,
         2018 WL 3067783 (N.D. Cal. Mar. 16, 2018) .................................................................................... 2
 7
     Apple Inc. v. Rivos, Inc.,
 8      2024 WL 1204115 (N.D. Cal. Mar. 21, 2024) ................................................................................ 1, 3
 9   DNA Genotek Inc. v. Spectrum Sols., L.L.C.,
       2023 WL 4335734 (S.D. Cal. May 10, 2023) ................................................................................. 2, 3
10

11   Ervine v. Warden,
        214 F. Supp. 3d 917 (E.D. Cal. 2016)................................................................................................. 2
12
     Kamakana v. City and Cnty. of Honolulu,
13     447 F.3d 1172 (9th Cir. 2006) ........................................................................................................ 1, 2
14   Krommenhock v. Post Foods, LLC,
        2020 WL 2322993 (N.D. Cal. May 11, 2020) .................................................................................... 3
15

16   Lamartina v. VMware, Inc.,
        2024 WL 3049450 (N.D. Cal. June 17, 2024) .................................................................................... 2
17
     Lee v. Great Am. Life Ins. Co.,
18      2023 WL 8126850 (C.D. Cal. Nov. 13, 2023) .................................................................................... 2

19   Phillips v. Gen. Motors Corp.,
        307 F.3d 1206 (9th Cir. 2002) ........................................................................................................ 1, 3
20
     PQ Labs, Inc. v. Qi,
21
        2014 WL 4617216 (N.D. Cal. Sept. 15, 2014) ................................................................................... 1
22
     Rembrandt Diagnostics, LP v. Innovacon, Inc.,
23      2018 WL 1001097 (S.D. Cal. Feb. 21, 2018) ..................................................................................... 2

24   Snapkeys, Ltd. v. Google LLC,
        2021 WL 1951250 (N.D. Cal. May 14, 2021) ................................................................................ 2, 3
25
     UnifySCC v. Cody,
26      2023 WL 7170265 (N.D. Cal. Oct. 30, 2023)..................................................................................... 3
27
     Vineyard House, LLC v. Constellation Brands U.S. Ops., Inc.,
28      619 F. Supp. 3d 970 (N.D. Cal. 2021) ................................................................................................ 2


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                            ii                    CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                          Document 1140                  Filed 01/28/25               Page 4 of 8




 1   Williams v. Apple Inc.,
        2021 WL 2476916 (N.D. Cal. June 17, 2021) .................................................................................... 3
 2
     Other Authorities
 3
     Federal Rule of Civil Procedure 26(c) ...................................................................................................... 1
 4

 5   Local Rule 79-5......................................................................................................................................... 1

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     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                                  iii                     CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR           Document 1140         Filed 01/28/25      Page 5 of 8




 1           Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

 2   submits this statement in support of Epic Games, Inc.’s Administrative Motion to Consider Whether

 3   Another Party’s Material Should Be Sealed Pursuant to Civil Local Rule 79-5 (Dkt. 1128) (“Epic’s

 4   Motion”). Apple respectfully requests that the Court seal Exhibits A–E to Epic’s Motion in their entirety

 5   and that the Court seal portions of the privilege log entries submitted as Exhibit F to Epic’s Motion.

 6   These exhibits contain information sealable under controlling law and Local Rule 79-5. Specifically,

 7   Exhibits A–E are confidential documents discussing Apple’s legal and business decisions regarding its

 8   compliance with the Injunction in this lawsuit and with regulatory orders from the Netherlands

 9   competition authority. Exhibit F contains excerpts from Apple’s privilege log prepared for the Special

10   Masters conducting evaluation of the privilege claims stemming from Apple’s re-review. The privilege

11   log is required to be filed under the terms of the Protocol, but contains competitively sensitive,

12   non-public information regarding Apple’s project codenames and the engagement of outside legal

13   counsel in connection with foreign regulatory issues in the European Union. It also contains personally

14   identifiable information in the form of email addresses of Apple employees.            Apple’s proposed

15   redactions of Exhibit F are indicated in the redacted version of Exhibit F filed with this statement and

16   itemized in the concurrently filed Declaration of Mark A. Perry (the “Perry Declaration”).

17                                            LEGAL STANDARD
18          “The court may, for good cause, issue an order to protect a party or person from annoyance,

19   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

20   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

21   for many types of information, including, but not limited to, trade secrets or other confidential research,

22   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

23   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

24   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

25   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,

26   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

27   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

28   (granting request to seal “internal product codenames” and noting that a prior request for the same had


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL           1                CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR            Document 1140       Filed 01/28/25      Page 6 of 8




 1   also been granted). Courts often find good cause exists to seal personally identifiable information. See,

 2   e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion

 3   to file under seal personally identifiable information, including email addresses and telephone numbers

 4   of current and former employees).

 5          Although a party must show compelling circumstances to seal information appended to

 6   dispositive motions, the standard for non-dispositive motions is simply “good cause.” In re Anthem, Inc.

 7   Data Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

 8   Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

 9   Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

10   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

11   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

12   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

13   seal “because the request is narrowly tailored and only includes confidential information”).

14                                               DISCUSSION
15          Apple seeks to seal the confidential business and legal information contained in Exhibits A–E,

16   and also seeks to seal the personally identifiable information and the sensitive business information

17   regarding project codenames and Apple’s engagement of certain outside counsel in Exhibit F. See Perry

18   Decl. ¶¶ 5–6.

19          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

20   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

21   has less of a need for access to court records attached only to non-dispositive motions because those

22   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

23   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

24   discovery generally are considered nondispositive of the litigation” (quotation omitted)); see also In re

25   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018

26   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

27          Apple’s sealing request meets the good cause standard here. Lamartina v. VMware, Inc., 2024

28   WL 3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL          2                CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR           Document 1140         Filed 01/28/25      Page 7 of 8




 1   operates in an intensely competitive environment, and thus has taken extensive measures to protect the

 2   confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of the sealed information in Exhibits

 3   A–E relating to Apple’s confidential business and legal strategy in connection with the Injunction in this

 4   lawsuit and a regulatory investigation in the Netherlands would compromise Apple’s ability to execute

 5   on that strategy in the United States and elsewhere. See id. ¶ 5; see also DNA Genotek Inc., 2023 WL

 6   4335734, at *2 (finding good cause where disclosure would “undercut” a party’s “position … in the

 7   marketplace”); Apple Inc., 2024 WL 1204115, at *1. Disclosure of the sealed information in Exhibit F

 8   relating to the confidential engagement of outside counsel and confidential project codenames could

 9   harm Apple’s business interests. Perry Decl. ¶ 6. Courts in this district have found not only good cause,

10   but compelling reasons exist to seal personally identifiable information. See Snapkeys, 2021 WL

11   1951250, at *3 (granting motion to file under seal personally identifiable information, including email

12   addresses and telephone numbers of current and former employees); see also UnifySCC v. Cody, 2023

13   WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding compelling reasons to seal personally identifying

14   information of employees, including names, addresses, phone numbers, and email addresses).

15          Apple has narrowly tailored its sealing request to include only the information necessary to

16   protect its confidential business information and personally identifiable information. See Perry Decl.

17   ¶ 6; Krommenhock v. Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting

18   motion to seal “limited” information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021

19   WL 2476916, at *2–3 (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored

20   redactions”); Dkt. No. 643 at 3 (finding Apple’s proposed redactions appropriate for an exhibit when

21   redactions were “narrowly tailored” to “sensitive and confidential information”). Apple has only

22   partially redacted limited information in Exhibit F. See Perry Decl. ¶ 6. Redaction of Exhibits A–E is

23   not practicable because the confidential information permeates the entirety of those documents.

24          For the foregoing reasons, there is good cause that warrants partially sealing the exhibits to Epic’s

25   Motion.

26                                                   CONCLUSION
27          Apple respectfully requests that the Court seal the information identified in the accompanying

28   declaration.


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL           3                CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR     Document 1140         Filed 01/28/25    Page 8 of 8




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 3   Dated: January 28, 2025                         Respectfully submitted,

 4                                                   By: Mark A. Perry
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 5
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 6
                                                     Attorney for Apple Inc.
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     APPLE INC.’S STATEMENT ISO MOTION TO SEAL   4                 CASE NO. 4:20-CV-05640-YGR-TSH
